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UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF LOUISIANA

 

 

LAFAYETTE DIVISION
JIMMIE EMERY : CIVIL ACTION NO.:
VERSUS : JUDGE:
OPELOUSAS HOUSING AUTHORITY : MAGISTRATE:
VERIFICATION
VERIFICATION
STATE OF LOUISIANA
PARISH OF LAFAYETTE

K. WADE TRAHAN, of the City of Youngsville, Parish of Lafayette, State of
Louisiana, being of the lawful age and being duly sworn on oath, deposes and says that he is the
attorney for Defendant, OPELOUSAS HOUSING AUTHORITY., in the aforesaid Notice of
Removal; that he has prepared and read the foregoing Notice of Removal; that he has the
authority to make this affidavit; and that the matters and things therein contained and the

contents thereof are true and correct to his personal knowledge.

K. WADE TRAHAN

SWORN TO AND SUBSCRIBED before me, Notary Public, in and for the aforesaid

parish and state, on this 28" day of May, 2020.

  

 

NOTARY PUBLIC
